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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MASSACHUSETTS


IN THE MATTER OF                             )
THE EXTRADITION OF                           )               No. 24-mj-01365-DLC
T.C.                                         )

                                   JOINT MOTION TO SEAL

       Pursuant to Local Rule 7.2 and the Court’s sealed Order (Dkt. 147), the United States of

America and T.C. jointly request to seal those portions of the Order denying T.C.’s Emergency

Motion for Reconsideration (Dkt. 146) that are redacted in the attached exhibit. The redacted

portions of the Order cover a discussion of confidential medical information of T.C. Medical

information is “universally assumed to be private, not public.” United States v. Kravetz, 706

F.3d 47, 59, 63 (1st Cir. 2013) (quoting In re Boston Herald, Inc., 321 F.3d 174, 190 (1st Cir.

2003)). Accordingly, the parties request to seal those portions of the Order that discuss

confidential medical information, as redacted in the attached.

       The United States further moves, pursuant to General Order 06-05, that the United States

Attorney, through undersigned counsel, be provided copies of all sealed documents that the

United States has filed in this matter.

                                                     Respectfully submitted,

                                                     JOSHUA S. LEVY
                                                     Acting United States Attorney

                                             By:     /s/ Kristen A. Kearney
                                                     KRISTEN A. KEARNEY
                                                     Assistant U.S. Attorney
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                                                     Respectfully submitted,

                                                     T.C., by his attorneys,

                                              By:    /s/ Victoria Kelleher
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                                CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent electronically
to the registered participants as identified on the Notice of Electronic Filing (NEF).

                                                     /s/ Kristen A. Kearney
                                                     KRISTEN A. KEARNEY
                                                     Assistant U.S. Attorney




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